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August1,2011
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The Honorable Leonie lV|. Brinl<ema

United States District Judge

United States District Court for the Eastern District of Virginia
Albert V. Bryan Courthouse

401 Courthouse Square

Alexandria, Virginia 22314

Re: intersections lnc., et a.'. v. Joseph C. Loomis, et ai., Case No. 1:09-cv-00597-LMB-TCB
Dear Judge Brinkema:

As you will reca|l, we represent the plaintiffs in the above action This letter is submitted with the
cooperation of the defendants

As indicated in my letter of June 27, 2011, the parties are taking steps to finalize the transactions
provided for under their court-approved settlement (including the conveyance of various parcels of real
estate). Although we had anticipated a closing in July, we now anticipate that the closing will take place
during the month of August. Accordingly, the parties request that the stay of this action be extended
through September 1, 2011. Once the closing has occurred, we will promptly file a stipulation of
dismissal.

Thank you for your consideration

Resp tfuily submitted

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lVlichelle J. Dicklnson

cc: Timothy J. lVlcEvoy, Esquire (vie electronic mai|)
Jenni Nl. Loomis (via overnight courier)

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